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 7
                            IN THE UNITED STATES BANKRUPTCY COURT
 8
                                       THE DISTRICT OF ARIZONA
 9

10   In re:                                                 Chapter 7 Proceedings

11   GREGG SETH REICHMAN,                                   Case No. 0:10-bk-24374-RJH

12                           Debtor.                        MOTION TO COMPEL
                                                            ABANDONMENT OF PROPERTY
13

14
              Gregg S. Reichman, Debtor, by and through undersigned counsel, hereby moves this Court for
15
     an Order, pursuant to 11 U.S.C. § 554, Bankruptcy Rule 6007 and Local Bankruptcy Rule 6007-1(b),
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     for the abandonment of the estate’s interest in certain personal property described as a 1999 Douglas
17
     Skater and trailer on the grounds that the property is burdensome and of inconsequential value to the
18
     estate. For his Motion, Mr. Reichman represents as follows:
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     I.       Facts
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              1.      This case was commenced by voluntary petition filed by Gregg S. Reichman
21
     (“Debtor”) under Chapter 7 of the Bankruptcy Code on August 3, 2010.
22
              2.      Lawrence J. Warfield is the appointed Case Trustee of the Chapter 7 Estate.
23
              3.      Debtor owns a 1999 32-foot Douglas Skater and Douglas Skater triple axle trailer
24
     (collectively, the “Property”).
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              4.      The Property is subject to a lien in favor of Bank of the West in the amount of
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     $114,559.19 as of September 25, 2010, plus interest at $19.24 per diem thereafter. A copy of the
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 1   payoff statement from Bank of the West dated September 15, 2010, is attached hereto as Exhibit

 2   “A” and incorporated herein by reference.

 3           5.      The Property has been listed for sale for over eight (8) months with Suncoast

 4   Powerboat & Yacht Brokerage at $139,000. During that time, no legitimate offers were received.

 5   Due to the current economics and the exit of banks to finance these types of boats, the values of

 6   these boats have fallen to wholesale or below. A copy of Suncoast Powerboat & Yacht Brokerage’s

 7   evaluation is attached hereto as Exhibit “B” and incorporated herein by reference.

 8           6.      Debtor has received an offer to purchase the Property for the purchase price of

 9   $120,000. A copy of the Purchase Agreement is attached hereto as Exhibit “C” and incorporated

10   herein by reference.

11           7.      The buyer is prepared to close within seven (7) days of acceptance of the offer.

12           8.      Suncoast Powerboat & Yacht Brokerage’s commission is ten percent (10%) of the

13   sale proceeds. However, Suncoast Powerboat & Yacht Brokerage has agreed to reduce its

14   commission equal to the balance of the sale proceeds after payment of Bank of the West’s lien –

15   approximately $5,440.

16           9.      After payment of the lien and broker’s commission, there will be no funds available

17   for distribution to the estate.

18   II.     Discussion

19           Pursuant to 11 U.S.C. § 554, the Court may order the trustee to abandon any property of the

20   estate that is burdensome to the estate or that is of inconsequential value and benefit to the estate.

21   As set forth herein, the Property is burdensome to the estate and of inconsequential value and

22   benefit to the estate. The Debtor has received an offer to purchase the Property for $120,000 after

23   having been listed for sale with a licensed broker for over eight months. Unfortunately with the

24   current economics, the market for performance boats has declined significantly and the values have

25   fallen to wholesale or below numbers. It is not foreseeable that another offer of this value or higher

26   will be presented anytime in the near future. See Suncoast Powerboat & Yacht Brokerage’s

27   evaluation (Exhibit B). The Debtor desires to accept the purchase offer and to close on the

28   transaction in a timely manner. The Debtor cannot continue to service the debt and any delay in
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 1   closing on this transaction may result in a loss of this sale and further diminish any value over the

 2   lien.

 3           The sale proceeds will be sufficient to pay the lien of Bank of the West in the approximate

 4   amount of $114,559.19 (plus $19.24 per diem after September 25, 2010). The balance of the sale

 5   proceeds of approximately $5,440 will be paid to Suncoast Powerboat & Yacht Brokerage for its

 6   commission, which it has agreed to a reduced commission. Consequently, the sale will not realize

 7   any value for the estate. Accordingly, the Debtor seeks the abandonment by the Trustee of this

 8   Property as it is burdensome to the estate and of inconsequential value and benefit to the estate.

 9           WHEREFORE, Gregg S. Reichman, Debtor, requests that this Court enter an Order

10   compelling the abandonment of the personal property described herein; and, for such other relief as

11   deemed appropriate.

12           DATED: September 20, 2010.

13                                                 POLSINELLI SHUGHART PC

14

15                                                 By:
                                                         John J. Hebert
16                                                       Mary B. Martin
                                                         Security Title Plaza
17                                                       3636 N. Central Ave., Suite 1200
                                                         Phoenix, AZ 85012
18
                                                   Attorneys for Debtor
19
     COPY of the foregoing mailed (or served via
20   electronic notification if indicated by an “*”)
     on September 20, 2010, to:
21
     U.S. TRUSTEE’S OFFICE                                Lawrence J. Warfield * lwarfield@warfieldcpas.com
22   230 N. 1st Avenue, Suite 204                         WARFIELD & COMPANY CPA, P.C.
     Phoenix, AZ 85003                                    14555 N. Scottsdale Road, Suite 340
23                                                        Scottsdale, AZ 85254
     Bank of the West
24   1450 Treat Blvd.
     P.O. Box 8050
25   Walnut Creek, CA 94597-8050

26
     By:       /s/ Cathie Bernales
27

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